 

Case 7:15-ov-OO465 Dooument 1-7 Filed in TXSD on 11/06/15 P§g@rgnipg"§¢“ed

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Hida|go County District C|erks
Reviewed By: Prisci||a Rivas

IV'
Facts

On or about February, 2008, the governing board of Pharr San Juan Alamo Independent
School District (hereinafter, “Plaintiff’ or “the District”) authorized a preliminary investigation
and assessment into the feasibility of upgrading and/or renovating existing structures at the
District’s Memorial Middle School campus in Pharr, Texas. One of the buildings considered for
renovations and/or upgrades was a three-story main building, constructed in 1915 or 1918 with
subsequent remodeling and/or additions in 1976 and 1986. Other buildings considered for
renovation included a building used for textbook storage and a building used as a band hall, both
originally constructed sometime in the l940’s.

On or about February 22, 2008, a Houston-based firm of consulting engineers, Terracon,
published its report of an on-site property condition assessment and inspection of the buildings
considered for renovations/upgrades. Terracon’s assessment was based upon visual inspection of
the property, some construction drawings relating to alteration and remodeling projects, as well
as interviews with the District’s construction manager, Mr. Ray Sanchez and Mr. Eli Ochoa, l
P.E., A.I.A., an engineer working for Defendant ERO International, L.L.P., an architectural firm
(hereinaiter, “Defendant” or “ERO”). The Terracon report concluded that the buildings were in
“fair to poor condition” and recommended that a detailed investigation of the foundation and
structural framing be conducted by a qualified structural engineer to ascertain the viability of
future renovations of the buildings The Terracon report further noted that during inspection
they discovered water ponding in the basement floor.

On or about March 3, 2008, Defendant ERO completed its own inspection of the
existing structures at Memorial Middle School.' ERO’s report of its inspection noted various

problems with the existing structures and the site, including large amounts of standing water and

 

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needed repairs or upgrades to the roofing system and exterior walls. The report ultimately
recommended that the District should replace the campus rather than proceed with renovations
and upgrades, and cautioned that major transformations, such as an evisceration of interior
components for structural repairs to the foundation, sub-flooring and Walls would be necessary if
the District proceeded with renovations.

Nevertheless, on the basis of subsequent representations from Defendant ERO that it
would be safe, feasible and economically practicable to proceed, the governing board of the
District authorized the renovation/upgrade project (“the Project”), to be completed in two phases.
Phase I would be the upgrade/renovation and adaptive reuse of the three story main building
(“Main Building”) and Phase II Would be the upgrade/renovation and adaptive reuse of the band
hall (Stambaugh Building) and a building use for textbook storage (“textbook storage building”).

Defendant Texas Descon, L.P. through its general partner Descon 4S, L.L.C.
(collectively, the “Descon Defendants”) executed a contract as the General Contractor on the
Proj ect on or about May 4, 2010. Defendant ERO executed a contract as the Architect on the
Project, on or about May 26, 2010. Defendant ERO entered into a contract with Defendant
Frank Lam & Associates, Inc. to provide consulting services and to provide recommendations
for the structural systems for the Proj ect’s renovations, additions, and new constructionl

Phase I of the Proj ect entailed demolition of certain outer columns and support structures
in order to construct improvements to the Main Building. Specifically, these improvements
would be structures that linked newer building wings to the Main Building. During the course
of the demolition of the outer support structures, portions of the main school building not
designated for demolition, including . large parts of the east wall and second story floor,

collapsed. As a result of the east wall collapse, portions of the west Wall and support columns in

 

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the basement suffered structural damage necessitating significant repairs.

Regarding Phase II of the Project, it was discovered in the course of construction of
additions and renovations to the textbook storage building and band hall that the walls and
support systems Would have to be entirely demolished and rebuilt for stability purposes,
essentially requiring that the buildings be re-constructed from the foundation up.

Post-delivery of the Phase l Project to Plaintiff, the basement floor exhibited infiltration
of water requiring changes to the initial specifications and a major overhaul to the flooring.

Following the collapse, Plaintiff filed a formal property damage claim on Defendant
Chubb Corporation (“Chubb”), Plaintiff’s insurance carrier, under policy number 35822323.
Defendant Chubb hired Defendant Rirnkus Consulting Group, Inc. (“Rimkus”) to investigate the
collapse and damage to the Memorial Middle School campus, pursuant to its own investigation
of Plaintiffs property damage claim. On January 21, 2011, Defendant Rimkus produced its
“Report of Findings,” and a supplemental letter on March 8, 2011, detailing the results of its
investigationl Based upon the representations and conclusions in Defendant Rirnkus’ Report of
Findings and supplemental letter, Defendant Chubb made its payment on Plaintiff’s claim.

V.
Breach of Contract by Descon Defendants and Defendant ERO

Plaintiff realleges and incorporates each material allegation contained in Paragraphs I
through IV of this Petition as if fully set forth herein. The Descon Defendants and Defendant
ERO breached their respective construction project contracts with Plaintiff by failing to perform
the work as contemplated, or performing the Work in a sub-standard manner that caused damage
to Plaintiff’s property. The respective contracts Were supported by consideration, were never
repudiated by any party to them, and all conditions precedent to their enforcement have occurred.

Plaintiff incurred damages from the respective breaches of contract by having to incur expenses

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to repair, redesign, and replace the damaged buildings For these damages, Plaintiff seeks
redress from this Court.
VI.
Negligence of Descon Defendants, Defendant ERO and
Defendant Frank Lam & Associates

Plaintiff realleges and incorporates each material allegation contained in Paragraphs l
through V of this Petition as if fully set forth herein.

a. Negligence of the Descon Defendants

The Descon Defendants were negligent in the following ways: planning and/or execution
of the demolition portion of Phase I of the Project, resulting in the toppling of large portions of
the east wall and second story floor and subsidiary damage to the west wall and basement
support columns, and failing to follow the specifications and product installation conditions for
the basement floor. This negligence on the part of the Descon Defendants included, but was not
limited to, failure to adequately inspect and test the structures and site beforehand and failure to
use appropriate demolition means and methods

b. Negligence of Defendant ERO

Defendant ERO was negligent in one or more of the following ways: failing to undertake
a more thorough investigation and determination of the structural integrity and conditions of the
facilities; failure to advise Plaintiff during the design phases of Project of ERO’s lack of
sufficient information to design and specify the Project; and advising Plaintiff to proceed with
bidding the Projects in spite of insufficient plans and specifications Negligence on the part of
Defendant ERO included, but was not limited to, failure to adequately inspect and test the

structures, failure to require and review a submittal for proper demolition means and methods,

 

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and failure to design improvements/additions to the existing structures which would have been
appropriate and feasible

ERO’s negligence in its advice to Plaintiff and its negligent design, combined with
Descon’s negligence, resulted in the toppling of large portions of the east wall and second story
floor of the main classroom building, along with subsidiary damage to the west wall and
basement support columns, moisture infiltration to the basement floor and the additional cost of
completion of the textbook storage facility and band hall.

c. Negligence of Defendant Frank Lam & Associates, Inc.

Defendant Frank Lam & Associates, Inc. Was negligent in the preparation of its structural
engineering report and evaluation of existing structures at the Project site, commissioned by
Defendant ERO in order to determine issues related to the renovation of existing buildings and to
provide recommendations for the structural systems for the Project’s renovations, additions, and
new construction The report Was based upon cursory observations and Defendant failed to
perform any exploratory testing to determine structural conditions Defendant Frank Lam &
Associates, Inc. Was further negligent in not preparing instructional demolition plans and being
present on the site every day that demolition operations were underway, to guard against careless
actions of` the contractor and assure that braces Were installed against the wall and at the floors to
protect property and personnel and guard against improper contractor procedures

Defendants collectively owed a duty of care to plan and perform the demolition in a
manner that would not result in the destruction of the District’s property that was not scheduled
for demolition, and to recommend and design additions and renovations that were appropriate for
existing structures at the Memorial Middle School. campus Defendants, jointly and severally,

breached this duty, proximately causing damages to Plaintiff.

 

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Plaintiff has suffered injury in that costs to clean up, redesign, and rebuild the structures
were incurred. For these damages, Plaintiff seeks redress from this Court. The Certificate of
Merit of Bradford Russell, AlA, Architect, detailing the specific acts of negligence of Defendant
ERO, was attached as Exhibit “A” to Plaintiff s Original Petition filed on May 14, 2014 and is
incorporated here for all purposes The Certificate of Merit of Thomas June Melton, III,' P.E.,

detailing the specific acts of` negligence of Defendant Frank Lam & Associates, Inc. is attached

herein as Exhibit “B.”
VII.
Negligence and Negligent Misrepresentation of Defendant Rimkus
and Defendant Chubb

Plaintiff realleges and incorporates each material allegation contained in Paragraphs I
through Vl of this Petition as if fully set forth herein Defendant Rimkus was negligent in the
preparation of its report, insofar as it arbitrarily excluded from consideration the vast portion of
most of the remaining portion of the damaged Main Building excluding the collapsed portions,
including cracked columns in the basement These omissions resulted in the gross underpayment
of Plaintiff’ s property damage claim by Defendant Chubb. These acts and omissions also
constituted common law misrepresentation In this respect, Defendant Rimkus provided false
information to Plaintiff in the course of Defendant’s business, which Defendant failed to exercise
reasonable care or competence in obtaining and communicating and Plaintiff justifiably relied
on, the information with damages to Plaintiff proximately resulting from said reliance Plaintiff
Was forced to expend large sums of money to pay for repairs to areas, including support columns,
that were excluded from consideration in Defendant Rimkus’ report. Defendant Chubb
committed negligent misrepresentation in adopting the misleading and incomplete Rimkus

report, and limiting its payment of Plaintiff’s claim based upon Rirnkus’ misleading conclusions

 

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Defendants Rimkus and Chubb collectively owed a duty of care to Defendants, to
properly investigate Plaintiff’s claim in order to provide a candid and fair estimate of the actual,
covered damages that Plaintiff sustained Defendants, jointly and severally, breached this duty,
proximately causing damages to Plaintiff. The Certificate of Merit of Thomas June Melton, III,
P.E., detailing the specific acts of negligence of Defendant Rimkus is attached herein as Exhibit
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VIII.
Violations of Texas Insurance Code by Defendant Chubb

Plaintiff realleges and incorporates each material allegation contained in Paragraphs I
through VII of this Petition as if fully set out herein Defendant Chubb committed the following
acts and omissions relative to Plaintiff s claim and the Policy:

Defendant Chubb failed to effectuate a prompt, fair, and equitable settlement of a claim
with respect to which liability has become reasonably clear, in violation of Texas Insurance Code
section 541 .060(a)(2)(A).

Defendant Chubb failed to adopt and implement reasonable standards for prompt
investigation of claims arising under its Policy.

Defendant Chubb failed to provide promptly a reasonable explanation in relation to the
facts or relevant law, for the denial of a claim, in violation of Texas Insurance Code section

541.060(3)(3).

Defendant Chubb refused to pay a claim without conducting a reasonable investigation
with respect to the claim, in violation of Texas Insurance Code, section 541 .060(a)(7).

Plaintiff paid all relevant premiums and complied With applicable claim-reporting
procedures as to Chubb Corporation policy number 35822323. All conditions precedent for

recovery by Plaintiff have occurred.

 

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Defendant Chubb knowingly committed the foregoing acts, with actual knowledge of the
falsity, unfairness, or deception of the foregoing acts and practices, in violation of Texas
Insurance Code section 541.002(1).

IX.
Violation of Duty of Good Faith and Fair Dealing

Plaintiff realleges and incorporates each material allegation contained in Paragraphs I
through VIII of this Petition as if fully set out herein Defendant Chubb, as Plaintiff s insurer,
had a duty to deal fairly and in good faith with Plaintiff in the processing of the property damage
claim. Defendant Chubb breached this duty of good faith and fair dealing by refusing to
properly investigate and effectively denying benefits under the Policy that should have been
paid. Defendant Chubb knew or should have known that there Was no reasonable basis for
denying or limiting the benefits As a result of Defendant Chubb’s breach of these legal duties,
Plaintiff has suffered damages within the jurisdictional limits of this Court.

X.
Bad Faith Punitive D_amagcs

Plaintiff realleges and incorporates every material allegation in Pa`ragraphs l through IX
of this Petition as if fully set forth herein Defendant Chubb acted fraudulently and with malice
(as that term is legally defined) in its investigation and handling of Plaintiff’ s claim for damages
Defendant’s conduct, When viewed objectively from its standpoint at the time of the occurrence
involved ~an extreme degree of risk to Plaintiff, considering the probability and magnitude of
potential harm to Plaintiff Further, Defendant had actual subjective awareness of the risk

involved, but proceeded with conscious indifference to the rights, safety, or welfare of Plaintiff.

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XI.
Negligent Misrepresentation of Defendant ERO

Plaintiff realleges and incorporates each material allegation contained in Paragraphs I
through VII of this Petition as if fully set forth herein Plaintiff brings this action for common
law misrepresentation against Defendant ERO. Defendant ERO provided false information to
Plaintiff in the course of Defendant’s business ERO failed to exercise reasonable care or
competence in obtaining and communicating, and Plaintiff justifiably relied on, the information
With damages to Plaintiff proximately resulting from said reliance. Specifically, Defendant ERO
represented to Plaintiff that the improvements in the form of renovations and additions that ERO
recommended and designed Would be appropriate for the existing structures at the Memorial
Middle School campus, and could be feasibly completed as planned without foreseeable damage
to existing structures and without necessitating demolition and rebuilding of portions of
structures not designated for demolition/rebuilding

Plaintiff justifiably relied upon the representations of ERO in making its decision to
approve the improvements, based upon ERO’s professional credentials, and thereby suffered
damages when it was discovered that the improvements recommended and designed by
Defendant ERO were not appropriate for the existing structures and could not be completed
Without excess destruction and rebuilding far beyond What was originally contemplated As a
result of Defendant ERO’s negligent misrepresentation Plaintiff has proximately suffered
damages within the jurisdictional limits of this Court.

XII.
Gross Negligence of Defendant ERO

Plaintiff realleges and incorporates each material allegation contained in Paragraphs l

through VIII of this Petition as if fully set forth herein Plaintiff further alleges that the acts and

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omissions of Defendant ERO constituted gross negligence, in that these acts or omissions, when
viewed Objectively from ERO’s standpoint at the time o-f the occurrence, involved an extreme
degree of risk considering the probability and magnitude of potential harm to others, which ERO
had actual subjective awareness of the degree of risk involved, but proceeded with conscious
indifference to the rights, safety, and welfare of others Pleading more specifically, Defendant
ERO recommended and designed improvements in the form of renovations and additions to
existing structures at the District’s Memorial Middle School campus when it had actual,
subjective knowledge that no renovations or additions should be contemplated because of
inherent problems with the structures, yet nevertheless proceeded to recommend and design
these improvements with a conscious disregard of the possibility of catastrophic accidents
causing extreme property damage and/or potential injury and loss of life.

XIII.
Limitations/Repose

Plaintiff, being a school district, alleges that none of the causes of action pled herein are
barred by limitations by operation of Tex. Civ. Prac. & Rem. Code, § 16.061.

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem. Code
§ 16.008 does not bar its claim against Defendant ERO, Who designed or planned the
improvements on the Project, as Plaintiff has filed suit within ten years of the beginning of the
operation of the equipment at the Project site,

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem. Code
§ 16.009 does not bar its claim against the Descon Defendants, who constructed or repaired
improvements in the course of the Project, as Plaintiff filed suit within ten years of the
substantial completion of the improvements (i.e., renovations and additions to the buildings in

question).

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XIV.
Resulting Legal Damages

Plaintiff is entitled to the actual damages proximately resulting from the Defendants’
actions and omissions Plaintiff has sustained damages in excess of the minimal jurisdictional
limits of this Court resulting from the Defendant’s acts and/or omissions Plaintiff is also
entitled to recover exemplary damages pursuant to Chapter 41 of the Tean Civil Practice- &
Remedies Code for the actions of Defendant ERO which constitute gross negligence,

XV.
JURY DEMAND

Plaintiff demands a trial by jury. A jury fee has been tendered.

XVI.
PRAYER

WHEREFORE, Plaintiff requests that the Defendants be cited to appear and answer, and
that on final hearing, Plaintiff recover from Defendants, jointly and severally:
l. Damages against Defendants in an amount exceeding the minimum jurisdictional
limits of this Court, plus accrued interest from the date on which the claim accrued to

the date of judgment;

2. Exemplary damages;

3. Attorney’s fees in a reasonable sum as the Court may award;

4. Costs of suit, and pre and post judgment interest;

5 . In the event of an appeal to the court of appeals, additional reasonable attorney‘s fee;
in the event of granting of writ to the Supreme Court, additional reasonable attorney's

fees.

6. Such other and further relief to which Plaintiff may be justly entitled at law or in
equity.

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Respectfully Submitted,

THE J. RAMIREZ LAW FIRM
Attomeys at Law

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San Juan, Texas 78589

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(956) 502-5007

By: M___---'"/)
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SBN 24007992
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ATTORNEYS FOR
PHARR SAN JUAN ALAMO I.S.D.

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of the foregoing - inn Was served on the following
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A PROFESSIONAL CORPGRAT.ION
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EXHIBIT “B”

PLAINTIFF’S SECOND AMENDED ORIGINAL PETITION

 

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CAUSE NO.C-S 149- 14-H

_ PHARR SAN JUAN ALAMO

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vs. § 389rh runrcrAL nrs'nucr
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TExAs DEscoN, L.P., DEscoN 4S, §
L.L.c. and ER_o INTERNATIONAL, §
L.L.P. d/b/a ERo ARCHITECTS §
Defendants § HIDALGO COUNTY, TEXAS
AFFIDAVIT oF THoMAs JuNE M`ELTON, nr, P.E.
THE srATE or TExAs §
coUNTY or rRAvrs ' §

BEFORE ME, the undersigned authority, on this day personally appeared Thomas June Melton,
IIl; P.E., who being by me duly sworn on oath deposed and said:
1. "My name is Thomas June Melton, II_I, I am over the age of twenty-one (21) years, I have
never been convicted of a felony, and I am competent to make this affidavit Ihavepersonal
knowledge of the matters contained in this affidavit, and they aie true and correct

2. This affidavit is submitted pursuant to the requirements of TE§XAS CIVIL PRACTICE AND
REMEDIES CODE § 150.002, with respect to the engineering services provided by Mr. Frank
Larn, P.E. and Frank Lam & Associates, Inc. in the prepared n of its structural engineering
report and evaluation of existing structures, thereby contrl buting to the partial collapse
of improvements atPharr San JuanAlamo Independent Sch!ool District's Memorial Middle
School in Phar'r, Texas (the "Project"). '

3. I am a licensed professional engineer in the state of Tcxas, l am competent to testify, and l

 

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am actively engaged in the practice of professional engineering I arn in good standing
with the Texas Board of Professional Engineers and I have never been
disciplined in Texas or any_ other state in' Which l am_ licensed. A true and
correct copy of my resume is- attached hereto as Exhibit A, and is incorporated.her`ein by
reference for all purposes.

4. Based on my research, experience in the industry, and review ofProject Documents, as
described herein below, Mr. Frank Larn, P.E. and Frank Lam & Associates, Inc. were engaged
in, and were retained on the Project, to evaluate the structural condition of existing structures,
prepare a report, and provide such engineering services that would result' 1n the safe construction
and performance of improvements atPharr SanJuanAlamo Independent School District's
Memorial Middle School in Pharr, Tean (the "Project").

5. As shown in my resume, Exhibit A', lam licensed to practice professional engineering and
have, for the past 45 plus years, been actively engaged in providing professional engineering
services for clients similar in'nature and geographic location to the Project,

6. Based on my education and professional experience, I have personal knowledge of the
acceptable standards for the practice of professinnal engineering and the plan and design of
improvements including renovations and additions to older structures and all prome engineering
requirements in connection therewith, in the state ofTexas and the greater McAllen area, which
was the task to 'be performed by Mr. Franl< Larn, P.E. and Frank Lam & Associates, Inc.

7. Ihave reviewed numerous documents including speciiically the September 30, 2009 andOctober 18,
2010reportsrelatingu)tliePiojectand l\/Ir.Franklam'sservicesintlnsmatter.

8. Based on my education, experience, and areview of the relevant'Documents, it is my
professional opinion that Mr. Frank Larn, P. E. and Frank Lam & Associates, Inc. is responsible
for at least the following act, error, or omission that exists on the Project:

a) Failing to undertake a more thorough investigation and determination of the structural
integrity of an existing building for future modification and existing conditions of the
facilities On September 8, 2009, Jesus V. Delgado pf E,RO sent a "Letter Agreernent for
Structural Engineerlng" on the Project, The agreement contained onerous terms requiring
Mr. Lam to perform initial engineering services involving conducting a structural
evaluation and report for a fee of $10,940.00 Which Was less than half the $27,200.00
amount budgeted by ERO and much less than the $40,000.00 fee recommended by
Terragon, another engineering tirm. Nevertheless, Mr. Lam accepted the commission
instead of walking away.

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' b) The September 30, 2009 report prepared by Mr. Lam was based on cursory observations
The engineering report was to have included an "evaluation of the existing structure and
discussion of the issues related to renovations of the existing buildings, and provide
recommendations fo`r the structural system o`f the proposed building additions.”
However, the report stated "The condition of the structure, the framing system, and the
structural evaluation of the existing buildings are based on site observations of the

v exposed structural members and our past experience on similar buildings." Lam
evidently did not do any exploratory testing, such as having an assistant present to chip or
drill into suspected concrete or tile column locations to determine what materials had
been used or to determine if the exterior walls were load bearing clay tile, vintage for the
era the building was built, or t`ull concrete structural frame with concrete floors and
concrete columns as he ultimately evidently assumed

c) The Lam report stated: "Based on our site observation the buildings were constructed of
concrete slab, beams and columns as primary structural members The exterior of the
buildings were constructed with masonry and stone... 111 general we believe that the
existing structures are in good condition for the ninety year old buildings and the
proposed building additions should not affect the structural integrity of the buildings." \

d) On September 22, 2010 a structural collapse occurred at the east end of the Main
Building at the Project site. The contractor had been demolishing a narrow "link"
building attached to the Main Building and adjacent to another building located further
east. On October 18, 2010 another Lam-generated report stated: “The concrete slab and
beams at the second floor and the roof are partially supported by` masonry columns at the
building corners and at the entrance corridor and partially supported by exterior load
bearing masonry wall.which is constructed of brick veneer and clay tiles.” From his
observations made after the collapse, Mr. Lam was admitting that his September 30, 2009
report based on his evident assumption that the Main Building had a full concrete
structural frame with concrete floors and concrete columns was incorrect and instead, the
building was a combination concrete interior column and interior slab frame with the
perimeter of the building constructed with load bearing clay tile which is much more
fragile during this particular demolition project involving removing a narrow building
sandwiched between two existing buildings that are intended to remain in place.

e) Furtherrnore, as the projects structural engineer, Mr. Lam was negligent in not preparing
' instructional demolition plans and being present on the site every day that demolition
operations were underway, to guard against careless actions of the contractor and assure
that braces were installed against the wall and at the floors to protect property and
personnel and guard against improper connector procedures ,

9. 'I`hese acts; errors, and/or omissions show that Mr. Frank Larn, P.E. and Frank Lam &

 

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Associates, lnc. failed to meet the applicable work product standards of similar design
professionals '

10. My investigation is ongoing, and further examination of the Project may lead to a different
understanding or to the discovery of additional negligent acts, errors, and/or omissions in the
Work performed by Mr. Frank Lam, P.E. and Frank Lam & Associates, Inc. As a result, l reserve
the right to supplement and/or expand my opinions and conclusions with respect to the
performance of Mr. Frank Lam, P.E. and Frank.Lam & Associates, Inc

Further affiant sayeth naught.

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THMAS ,» 111, `P.E.

SUBSC]SBED AND S_WORN TO before me by. the said _`['L-lr$i 1433 f J vy/e' Mer{.,ZJ? ,F§‘
on this the §b( day of August, 2015, to certify which witness my hand and seal of otfice.

 
 
   
    

  
 

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My Commission Expires:

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S'I'RUCTURAL RBPORT FOR

PSJA ISD T-STEM EARLY COLLEGE HIGH SCHOOL~- PHASE I

sea w rs"' sr., Ausrn. rx ram

' Phan¢ (512}47'0-2717

RENOVATIONS AND ADDITIONS

714 a U.s.Highway`ss
Pharr, Texas 785'77

Prepared for
ERO Architects

Prepared by
Frank Lam & Associates, Inc.
Regltn:ration No. F-2545

September 30, 2009
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Frank S. Larn, P. E.

Fax (512)476-2714

mnldam@rmnklamtno.oom

ERO 023?28

 

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' ,_-- - Frank Lam 8c Associates, Inc.
' -~ R Conslllting Engine@l‘$ Roglstration No:F-2545

 

INTRODUCTION

Prank Lam dr Associates, Inc. was trusted with ER{) Architects to rovide a structural
M_s§ soo coilege'sh%:mmrmmrhw t
re art includes ev uati 11 of the existing structure and discussion of the issues related to 1
renovations of the existing buildings and provides recommendations for the structural system of

the proposed building additions ,
SCOPE OF WORK

The soo c of work includes um¥ttwmwtln…_gg__£q_i_u-LMQ]MWW
strimerliTT§'-mg_|mo for us to Wdo£voftho existmg u mg .
T e site visit was performed on Au st 27 200 . enovation items hich affect the structure

~' ;_` 1 _ 1a ; _w=_ cignglmon oftg stmct_i_ir_qs in h§gyt_gen
' _:, demolition ofthe exterior raise Walkway at ` c

:- - 111 star -: at the north side `cf the main building,

` new mach neal ebasco coin ,
W_» r-__,=, =_.\_ ' : ' 5 d Ee suditonum annex.
ing a ¢` otis include the ranch a_t theb_____gm_ent,
the first and second floor structures betw ' `
the first and second floor structure along the south side of c main buildingl

     
      
   
  

  
 
  

m - REVIEW OF EXISTING STRUCTURAL DOCUMENTS -

) Thch was no strucmral drawing of the main building east and west wings, and the
auditorium annex available for revicw. The condition ofthe structure, the framing system, and
the abnormal evaluation ofthe existing buildings are based on site observation of the exposed
structural members and our past experience on similar buildings

EVALUATION OF EXISTING STRUCTURE ,
. The eidlting structure is consisted of the Main Building, the flast and West Wlngs and the
Audltorlum Annex. The Main Building was built around 1915 while the other structures Were
added on around 1926. The Main Building has a basement first, and second floors The East'
and West ill_;)£g§ have a ti t _and sqggnd.floor but at differed floor elevations from the
Main Building. The Au lt um Annex has a small basement and first floor. Baséd on our site
observation the buildings were constructed MW_@M, beams and columns as primary
structural members The exterior ofthe buildings were constructed With masonry and stone
Our site observation revealed cracks in the concrete columns andwalis. We also
observed cracks in mesc and stone exterior wIl and in'the no_r_rii §Lga__i_i_ee arch structurel At '
~.--....1, this tlme, ge bg'ov esa stresses are not aH`ccting the unnatural integrity of the but 'ng We
w recommen struc rul re ofthe dam ed honor and rts-pointing the masonry
M` cracked mortar joints replacement of the cracked mason land stone Therc was also

evidence ofwster stratton in rhg_ basement walls which require new waterproofing at the
exterior face of the waL.lls. _“j't\“'"'""“ """ . ,' f
tz//'LMVP'(E’W@WDMW _

, ) 508 W. 16"' St, Austm, TX 78701 phone (512) 476-2717 fox (512) 476-2714 nank@nantdamlna.ncm

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Page 2 of 2

Pan isn - _ , >

in general we believe that the existing structures are in good condition.for the ninety year
old buildings and Ee proposbd building additions should not affect the structural integrity ofthe
buildings x _ _. " ,

RENOVATIONS TO THE EXIS'I`ING STRUC'I'URE
1. Proposed opening in the basement concrete wall:
Proposed opening in the basement concrete wall for the mechanical room and elevator
addition attire south side of the main building is acceptable but might require installed on
of new steel 'header.

. Demolition of the structures in between the main building and the east and west wings:
Demolition of the lloor and roof structures in between the main building and the east and
west wings is acceptablel .`We recommend that the foundation be removed to allow the
placement of the new concrete foundation for the proposed addition The existing central
corridor can remain. "_" ""

3. Demolition of the exterior raised walkway at the auditorium annex and the central entry

_ stairs st the north side of the main building
Demolition of the exterior raised walkway at the auditorium annex and the central entry
stairs at the north side of the main building is acceptable

4. Cutti_ng the ordering floor slab for pipe pcnetrations and new mechanical chase openings:
Cutting the existing floor slab for pipe penetrations and new mechanical chase openings
is acceptable but might require additional steel reinforcement at the openings if the size

ofthe openings are larger than 12”x12”, Wldbelmnedjo_thnslw
’ 5. ' in the exterior mason walls attire main building and the auditorium

annex:
Proposed openings in the exterior masonry walls at the main building and the auditorium
annex are acceptable but might require installation of new steel header.

' PROPOSED NEW ADDIT[ONS
FLOOR AND ROOF STR.UCTUREZ
. The roof structure ofthe new additions shall be metal deck on structural _steeljoists
ll a lost 'r l _ lule Sha]l beconl.ll‘€le l'.O lin bn metal

' _ sr.--: 1 =,'-_ t : : 1 n n m _t_: ‘011 'l'}illt Bh£tiih€
'gg structures elevator shaft w lis shall be rein cree

 

 

 

FOUNDATION SYSTEM:

Foundation system shall be slab on grade and shallow foundation Throe feet of the
existing clay `soil shall be removed and replaced with compacted select till prior to the `
construction of the foundationl New 12” thick reinforced concrete baseth walls shall be
construch at the mechanical roMEMIWmFg-mmll be
cdnnectcd'to tire existing fouan in die vertical direction to reduce vertical differential
movement '

ERO 023730

 

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; "Frank Lam &Associates, Inc.
' ' .Consulting Engineers . Regissacion No:F-2545

Ropart
Date: October 18, 201'0

To: Mr. Eli Ochoa, P. E.
ERO Architects

Re: Siructural Investigation of
Partial Collapse of the Main Building
PJSA ISD T~Stern Early Collcge High School
714 E. U.S. Highway 83, Phsrr, Texas
FLA 2010.47

 

lntroduction: '

At your request. we perfonned two field trips to the above referenced project The first
one was performed on`%2_2#2010.and the second one was pcrt`onned on 1-1_0-_8=2010. The
purpose of the field trips was to observe the condition of the partially collapsed building
and to gather data for an engineering report. The second field trip also involved a
meeting with the representatives from the School, ERD Architects, end the Contrsctor.
At the meeting, Frank Lam & Associates was requested by the School to prepare nn
engineering report to document the findings of the observation and investigation

Documents reviewed: _' _ _` y _
D'emolition Drawil}gs'-an'd Notes prepared by ERO Amhitects dated 2-24-10.

Dcacrlptlons of original structnres:
The school buildings are`oonsistcd of the Main Building in the middle, the East and West
Wings, and the Bast and West Links which arc connected to the Main Building and the
'two Wings.l The Main Building has s basement, first floor near ground level, and second
floor and is constructed of reinforced concrete sisb end beams and columns and exterior
Rsnwnsmssam_\n_lls. ne two wings sss the links have a fss coors gm
e el and c second floor and erc constructed of reinforced concrete slab and`beams and
columns. See plans on attached drawings SDI to SD3. The area that the collapse
occurred is at the west side ofthe Main Building. The concrete slab end beams st the
second floor end t c roof erc partially supported by masonry columns at the building
corners and at‘the entrance corridor -and partially supported by exterior load bearing
masonry wall which is constructed of brick veneer and clay tiles. Thcre erc two large
openings in the masonry wall and the concrete beams would act hs headers across the
openings The opening at the south side was later filled with unreinforced concrete
masonry nnits. The later addition ofthe Wilij;`s_sind dickile tteclled to the Main
BuMnganth§iggigint. The.Links are'§`upporte by cast in place concrete

Psgs 1 of4
608 W.16!h S!, Ausiln, TX 78701 phone,'(512)476-2717 fax:{512)476~2714 MMMM

 

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columns and beams poured against and plastercd around the existing masonry columns.
The masonry columns are part ofthe load bearing walls supporting the floor and roof of
the Main Building. Sce wall section on attached drawing SD¢.

Portion of the proposed demolition involves the removal of the Link strucu)re between

the Wings and the Main Building. Thcse incl . slab of the sec _ floor
and the mof, concre,§ columns against the Wing and the Main Buildmg, and e_two
mims emeen the columns. The li,rlni_'Lo£dem°lll-inn_&lnpanl_flt§nU
MMMM

Site Observatlon:

. We of Main sundng
W t Llnk structure was almost completely demolished e;§cem the concrete colgt_r_is

and tie b s a had to the ‘ ing. See Photos lB, l9, and . n garner , the
masonry walls of the Main Building appear to be in satisfactory condition except at the

two hollow masonry columns located st the stalr. 'I'h asc columns are sitting on
§_%Q.QLMG!‘_¢_¥B_CO_IL!L;YJ which are terminated near the §oor level. Structursl credits are
o served above the concrete columns. See Photos 21 and 22. These cracks and the
hollow masonry columns must be addressed prior to nature work on the building.

East side of Main Building: .
The act Llnk structure was completely demolished with the exception of some rebar
spanning between the buildings During the demolition of the link. an approximately 12
` ft by 60 ft long section of the szgide of Main §_u_llding was§§gdsrrn|?g_da_nd

m' gnllaps_et_i; See plans on drawings SD2 and§ffi and*Photos 1 to 17. e collapsed _
members include the concrete beams and slab at the second floor and roof, E)_ad,bear].n§
cia tile and brick veneer walls, exterior masonry columns, and concrete m sonry unit
l&lzll?lli€wall`®e’nln§:_l?art of the second floor and roof slab is stlll hanging by the
reber and the two wing walls at the north and south ofthe building arc still remaining but
have suffered severe damages and separation TPk/:HUMMM
MMMQ, leaving apoc t in' the walls. Sce Photos 2, ll, a.ad_"1
17. lt appears that the collapse stops at the first interior beam along Grid 15. See plans
on drawing SD2 and SD3.

Probable cause of collapse and sequence of eventa:
11 is evident that the collapse of the second floor and roof slab and beams are result of
structural failure of the columns and load bearing-walls The initial cause of failure of the
vertical members ls notes apparent and could be a combination of several factors. The
sequence of events starts with the north concrete column supporting the East Llnk
structure being forced to displace outward during the process of demolition The lack of
§§ sion joint between tbl`s concrete column and the masonry column supportlng the l

n Building.allowcd the M. The outward movement of the
concrete column creates a latcra proc on the masonry lumn. The hollow and
unreinforced masonry column is subjected to.axial and lateral force and does not take
long. to buckle and collapse. With the collapse of the first masonry column, the adjacent
clay tile and brick wall panel starts to fail and move outward because there is no
connection between the wall and the slab. As a result of the failure of the columns and

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wall, the slab and concrete be'ams above are loosing support and start to deflect and
rotate. A`t the same time, the weight of the slab and wall above starts to shift to the other
masonry column and overloads the column and wall panel. When the beams loose the
center supports, the slab starts to deflect downward under its own weight and suffers both
shear and flexural failures When the second floor beam and slab fails the load bearing
wall supporting the roof structure starts to fall, causing failure in the roof slab similar to
the floor slab. The structure finally reaches equilibrium when the slab collapsed and
detached from the end walls and the beam pulls out from the masonry pockets.

The origin of the force that starts the failure of the north masonry column' 1s related to the .
demolition means and methods It could be W£hilgh_m%ct
ol…. As mentioned prev ou§[ly, th collapse

e structm'e is pro y ue to a com l of several factors: Contractor“`s means
and methods during the demolition and lack of protection of the existing structure iss es ._
relamdwthao:igln_sllwami_…cinipnh The dilding
was designed primari y as conere c structure except c ay\t e wa was designed as
load bearing wall to support the concrete slab and beams at the`exterior of the building
Indlvidual columns supporting the exterior concrete beams are made of clay tiles or
bricks, forming a box shape vertical stnicture. There is no concrete or reinforcing inside
the columns and there is no connection between the concrete beams and the clay tile
columns other than a beam pocket_. As a result of the lack of retrain at the top ofthe
column any s' iticant lateral fore acting on the column will destabilize the column.
The ccnstmci;ion method of the concrete columns supporting the Links also contributes to
the failure of the building The new concrete columns were cast against the existing
masonry walls and columns without expansion Jomt and the columns were plastered `
together and creating a bond between thcrn. Tlu`s condition does not allow the columns to
move independently and allows force transfer between them; and as a rcault, impact from
the chipping hammer hiding the concrete column 1n the Llnk could have created distress
lathe masdrl{y coldnin in the Main Building. Another factor that contributes to the
collapse of the structure is the pre-existing conditions of the clay-tile walls and masonry
columns. Pre-existing conditions include cracks and spallings in the clay tiles and
masonry which would have weakened the su'uchzre and reduced the load carrying
capacity.

In conclusion, it' 1s our opinion that the collapse ofthe suucture is caused by demolition
means and methods, and to a lesser degree the pre-existing conditions and the design and
commotion of the original buildings

Recommendatlons for repairs

East of the Main Building:

We recommend that the partially collapsed slab be removed to the face of the beams at

the first interior grid line 15. Sec plan on drawing SD2. The remaining clay tile and

masonry walls at the north and south of the building shall be removed to.thc west of grid

15. New steel structure shall be installed to replace the collapsed slab. Instail concrete

masonry unit (CMU) wall to the inside of existing wall along grid line A and grid line H
~ and between grid lines 13 and 15 and turn the cornersl to the masonry columns at B-13

_ .Paqa 3 0!4 _ \
605 W, 16th 8!, A‘usiln, TX 78701 phane:(512)476-2717 fax:(512)476-27'l4 Mm@¢gg§i_am£m

 

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v

and G‘-13.

West of the Main Building:
Prior to further demolition, the existing load bearing walls shall be strengthened. We

§;:mnmszn l tallation of CMU walls similar to the east sido. CMU walls shall be
lalled along the exterior wa at gm n€§“a'iia"iii“rl¥'fho'€§r"xi€r'§'-to grid line 8 along
grids A and H. The wall shall terminate at masonry columns B-.S and G-S.

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Frank S. Lam, P,E
Frank Lam & Associates, Inc.

Amwnencs: meings sm to sD4 in 11x17
Photos sheets Al to A6.

 

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architects
September 8, 2009

Frank Lam

Frank Lam & Associates, lnc.
508 West 16‘“ Street

Austln, Tean 78701

RE: Letter Agreement for Structural Engineerlng on the
PSJA ISD Early College ngh School project

- Dear Mr'-. Lam:

We have received your proposals for Structural Englnoering on the PSJA Early College
ngh School. (Attachments to this Agreement for reference only.)
' 1) Structural Evaluatlon and Report of Exlsting Faclllty for $10,940.00
2) Structura.l Englneering and Constructlon Do<:uments for Renovatlon &
Additions to the Main Building - F(hase l for $26,360.00 '

The total combined fixed fee 15 $37,300.00. Thls comblned amount will be -the agreed
upon total upon which to invoice. invoicing shall be on a percentage of total work
completed

Schematlc Design 20%
Design Development 20%
Construction Documents 35%
Bldding & Negotlation 5%

Constructlon Adrnlnlstration 20%
ERO Archltects will remit payment to _you once we receive payment from the Owner.

Sincerely,

 

CC'. Ell O(:hoa, P.E., AlA, Chlef Executlve Officer
Susan Daniels, ERO Project Manager/ Di rector of Operatlons

 

 

 

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ACCEPTANCE SlGNATUREB

Structural Eng|neor Archiloct 1.
Frank Lam & Assoc., lnc. '

Bv‘. Yq\£l/W\P Q/L:,»--

 

 

 

 

 

 

 

 

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Y`€$ 1514 n`T/ . 1 Partner
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EXHIBIT “C”

PLAINTIFF’S SECOND AMENDED ORIGINAL PETITION

 

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CAUSE NO.C-5149-l4-H

PHARR SAN JUAN ALAMO
lNDEPENDENT SCHOOL DISTRICT
Plaintz'jj”

IN THE DISTRICT COURT

vs. 389th JUDICIAL DISTRICT

TEXAS DESCON, L.P., DESCON4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a EROARCI-IITECTS
Defendants

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HIDALGO COUNTY, TEXAS

AFFIDAVIT OF THOMAS JUNE MELTON, III P.E.

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CoUNTY op tRAvIs §

BEFORE ME, the undersigned authority, on this day personally appeared Thomas June Melton,
IlI P.E., who being by me duly sworn on oath deposed and said:

l. "My name is Thomas June Melton, III. I am over the age of twenty-one (21) years, I have
never been convicted of a felony, and I am competent to make this affidavit Ihave personal
knowledge of the matters contained in this affidavit, and they are true and correct

2. This affidavit is submitted pursuant to the requirements ofTEXAS CIVIL PRACTICE AND
REMEDIES CODE § 150.002, with respect to the engineering services provided by Mr. Bruce L_.
Morris, P.E. and Rimkus Consulting Group, Inc-. in the assessment of damage
subsequent to the partial collapse of improvements atPharrSanJuanAlamo Independent
School District's Memorial Middle School in Pharr, Texas (the "Proj cct").

3. l am a licensed professional engineer in the state of Texas, l am competent to testify, and I
am actively engaged in the practice of professional engineering l am in good standin g

 

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with the Texas Board of Professional Engineers and I have never been
disciplined in Texas or any other state in which l am licensed. A true and
correct copy of my resume is attached hereto as Exhibit A, and is incorporated herein by
reference for all purposesl

4. Based on my research, experience in the industxy, and review of Project Documents, as
described herein below, Mr. Bruce L. Morris, PE and Rimkus Consulting Group, lnc. were
engaged in, and were retained on the Project, to evaluate the cost and extent of damage
subsequent to the partial collapse of improvements atPharr San.luan Alamo Independent
School District's Memorial Middle School in Pharr, Texas (the "Project").

5. As shown in my resumc, Exhibit A, lam licensed to practice professional engineering and
have, for the past 45 plus years, been actively engaged in providing professional engineering ~
services for clients similar in nature and geographic location to the Project.

6. Based on my education and professional experience, l have personal knowledge of the
acceptable standards for the practice of professional engineering;and the plan and design and
costing of improvements including renovations and additions to older structures and all
professional engineering requirements in connection therewith, in the state of Texas and the greater
McAllen area, which was the task to be performed by Mr. Bruce L. Morris, PE and Rimkus
Consulting Group, Inc.

7. I have reviewed the January 21, 2011 report and March 8,2011 supplemental letter relating to the
' Project and Mr. Bruce L. Morris' services in thismatter.

8. Based on my education, experience, and a review of the relevant Documents, it is my
professional opinion that Mr. Bruce I_,. Morris, P.E. and Rimkus Consulting Group, Inc\
are responsible for at least the following act, error, or omission that exists on the Project:

a) On January 18, 2011, Mr. Bruce I. Morris, PE ofRiml<us Consulting Group, Inc.,
conducted an on-site inspection of the damage that had resulted from the September 22,
2010 structural collapse of the east end of the Main Building at the PSJA ISD school.
Morris wrote'. "...Rimkus was retained by Chubb Insurance Company to determine th_e
limits of intended (demolitioni work to be performed by the contractor and to determine

the extent of damage to the building outside of those limits as a result of work being
performed by the contractor.

b) The limits of intended demolition work involved the east "linl<" separating the east end of
the Main Building from the East classroom building. Mr. Morris arbitrarily established
the portion of the building west of those "l'ml<" limits to comprise the second floor and

 

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G`)

d)

3)

roof area between the east end of the Main Building to column line l -- portions of the
Main Building that had actually collapsed

Mr. Morris arbitrarily excluded the vast portion of most of the remaining portion of the
damaged Main Building for no proper scientific engineering reason Subsequently,
damage was discovered in areas outside of the limits established by Morris. For example,
the basement columns were found to be so weakened by the thrusting action of the forces
generated throughout the building as a result of the collapse, that ultimately the columns
had to be reinforced in addition, damage was discovered at the brick roof parapet and
the parapet had to be repaired Damage to these areas would have been open and obvious
to Mr. Morris had he conducted a proper assessment of the limits of damagel

in my opinion, Mr. Morris' actions were misleading and negligent, causing the PSJA ISD
to expend money on change orders that Chubb otherwise would have been required to
Pay-

Mr. Morris addressed the west end of the building stating (page 5): "lnspection of the
west end of the main building indicated the concrete columns at the sides of the west exit
ended near the level of the first tioor, with masonry columns extending above that ievel.
We observed cracking in the masonry columns on both sides of the exit above the first-
floor level. Concrete columns had been installed at the exterior of the main building for
the walkway... (and) there was evidence of movement of the brick veneer on the first
floor at the northern portion of the west wall of the main building."

A photograph provided by project engineer Frank Lam (Exhibi't B) clearly shows that the

joints of the building frame at what is believed to be west end intersection of the

referenced masonry column at both the first and second floor concrete slab had partially
failed as a result of the lateral force exerted, from east to west, horizontally through the
second floor slab system as a result cf the collapse of the link attached to the east end of
the building, against the east end of the Main Building. Thus the entire area between the
east and west end of the Main Building was actually damaged to varying extent by the
collapse and not just to the limited area with the arbitrary limits established by Mr.
Morris in his January 18, 2011 report.

On Mareh 8, 201 l, Mr. Morris provided a supplemental letter on behalf of Rimkus and
Chubb, responding to whether the work contained within a cost Estimate was within the
scope of damage determined to be a result of the limits established by Rimkus The
Estimate was based on a faulty limit of damage determination provided by Mr. Morris.

9. These acts, errors, and/or omissions show that Mr. Bruce L. Morris, P.E. and Rimkus

 

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Consulting Group, lnc. failed to meet the applicable work product standards of similar design
professionals

10. My investigation is ongoing, and further examination of the Project may lead to a different
understanding or to the discovery of additional negligent acts, errors, and/or omissions in the
work performed by Mr. Bruce L. Morris, P.E. and Rimkus Consulting Group, Inc. As a
result, l reserve the right to supplement and/or expand my opinions and conclusions with respect
to the performance of Mr. Bruce L. Morris, P.E. and Rimkus Consulting Group, Inc.

Further affiant sayeth naught.

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rno"M/is JUNE Li(‘}ii;i."rot\i, nl PE

SUBS`(%RIBED AND SWORN TO before me by the said " . .' ,
on this the § day of August, 2015, to certify which witness my band and seal of office

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My Commission Expires:

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Case 7:15-cv-_OO465 Docu`_rnehnt:l-?:_ Filed _in TXS_D on 11/06/15 Page 37 Oi 54

AMSTAR ENG.INEEMNG, me _.
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general administration contract negotiation personnel control1 field coordination, inspection and
safety evaluations

11/82 - 3/84 - DaiMac Deve|opment Company, Dal|as, Texas; Vlce President and CEO of
DaiMac Resldentia| Development Corporatlon in change of acquiring developablo land for
apartment and condominium projects in the Dai|as area Responslbl|ltles included general
administration contract negotiation civil engineering analysis of proposed land acquisitions and
structural engineering evaluation of existing apartments and condominiums proposed for
acquisition ~

9/75 - 9/84 - Presldent; T. J. Melton, l|| & Associates, lnc., Mld|and, Texas, a civil/structural
build/design flrm. Structura| engineering projects included Westgate Businoss F‘ark (offlces and
warehouses), medical facilities, oilfield structuresl insurance officcs, retail centers, hotels`,
schools, churches and large resitrlencesl Civi| engineering projects included Wesfgate Acres
roads. utilities and drainage, and a large water-recreation park. Company closed |n 1984 due to
overall decline in oll- related Tean economy. Worked full time from 9;75 to 11!82; part- time from
11/82 to 3/84. and full time from 3/84 to 9/84.

9.~"?3 - 9!75 - Project engineer; Eiryant-Cur|ngton1 Consulting Engineers; Austln, TX; Project
design engineer for expansion to Davls Water Treatment F’lant; preliminary studies of Onion
Creek Sowage Treatment Plant; and various subdivision road, bridge and drainage projects
Responslbillties included structural design of ciarlflers, nitrat|on, chemical buildings and
laboratprles, and associated civil design of road access. parking and drainage facilities

- 5/70 - 9/73 - Greeven & Stoeltje, Consultlng Englneers; Austinl TX; Project structural
design engineer for various projects including elementary schools at Bral<er Lane, Rundburg Lane
and Austin High Schoot; Water Resources Stafe Offioc Building, Travis County Courthouse Annex
and Parking Garago, Unlverslty of texas Regents Building. various Un|verslty of Tean buildings
smaller office and retail bulldlngs. and University of Tean of the Permlan Basln. Responsibllities
included full charge design, coordination of drafting and some project inspection Deve|oped
computer software for building analysis Buildings varied in size from single story to twelve-story
structures

9/66 - 5/70 - Structura| Engineer; Eugene Wukasch & Associates; Austin, TX; Design
engineer |n charge ofwori<ing drawing preparation coordination between various design
professionals. field inspection and client negotiation for various bulld|ngs, including retail facilities,
apartments. chu rches. mobile homes. mobile schools and various projects for the Corps of
Enginoers. Mllltary projects included aircraft hangers and oftices. commissary expansion and
WAC barracks at Ft. Sarn Houston and Brooks AFB.

10167 - 9/68 - Associate Engineer; Fluor Corporationl Houston, TX; Project engineer in
charge of structural design of petrochemical facilities, including buildingsl pipe support structures
and foundations, and civil design of drainage, pavement and wastewater collection and disposal
Responsibllitlos included directing steam of engineers involved in specialized design of steel and
concrete tower structures for wind and earthquake loadings. C|ients included Texaco and
Petrotex Petroleum Company. Most projects exceeded $5 million in construction value.

_ 8!66 - 10!67 - Structtira| Deslgner; Brown & Root, lnc., Houstonl TX Design engineer of
domestic, foreign and offshore facilities including docks. warehouses petroleum facilities, drilling
platforms and government buildings lviuch of the design work performed during this period
encompassed numerous smaller components of larger structi.irosl such as specialized design of
concrete retaining wal|s, column and composite beam design, buck|lng and fatigue analysis of
structures subjected to impact from floating vessels and ice flowsl and specialized steel
connection design N|ost projects were undertaken in a team-effort atmosphere C|ients included
Geigy Chemical Company and Nakoosa Edwards Company.

 

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1/65 - 8/66 - Student; University of Texas; Austinl TX; Working toward Master of Sc|ence
degree in Architecturai Engineering. Worked as a teaching assistant in the Department cf
Drafting. ~ ,~

6/63 - 9/63 - Structurai Draftsman; Preston Ni. Geren, Architect-Engineer; Ft. Worih, TX;
Duties included structural drafting and minor engineering calculationsl Projects included various
office buildings and high schools Structurai experience included elementary steel connection and
base plate design, concrete footings; concrete slab on grade; suspended concrete channel floor
systems; and masonry load bearing wall analysis Other duties included coordination between
structural and architectural departments and checking of shop drawings for various projects

6!61 - Bi€it - Rodman; Texae Highway Department; Midiand, TX; Surveyor duties, including
quantity takeoffa and measuremenis; soil tests; surveyor calculations and dutiesl

9/60 - 1165 - Student; University of Texas', Austin. TX', Working toward Bachei`or of Sclence
degree in Architecturai Engineering.

PROFESS|ONAL MEMBERSH|PS:

American institute of Steei Construction
American Concrete institute - Previous
Nationai Councii of Engineering Examiners
Texas Society of Professlonai Engineers
National Society of Professional Engineers
American Society of Civil Engineers

Past iviemberships:
Chairman - Building Code Review Committee - Midiand
Chairman - Planning & Zoning Committee - Midiand
Planning & Zoning Commission - Midiand
Utl|lty Windowpane Advisory Committee - Midiand

PUBLlCATiONS'.
Meiton - "Structures Video Seminar" 1988 thru 1997.
Meit`on - "When the Bough Breaks: Building Faiiures and the Structurai
Engineering Expert" - 1989; workbook revised 1996. '
. iVleiton - "Failures of in-Service iViPC Paraliei Chord Wood Fioor Truss Ccmponents
l Reveai Deficienoies in ANSiITPi Standards - 2000
lVleiton - "ADA-AlE Titie ill Design Video Seminar", 1994.

 

 

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THONiAS J'UNE MELTON. iii PARTiAL PROJECT, L|STING
|NCLUD|NG AMSTAR ENG|NEER|NG PROJECTS
(Significant projects listed oniy)

The following partial iisting reflects the types of projects
for which Thomas June ivieiton, iii has provided engineering
servicee:

FOR AN|STAR ENG|NEER|NG:

A-‘i Fire & Security Foundation / Drainage Evaiuation - Waco
A-1 Rental Store - Austin
Academy Surpius Foundetlont'riitwaliiFreming - Austin
6903 Agave Cv. P|umbinngtructurai - Auetin
Aircraft Scaffoiding - San Antonio
Airport Merriott Mezzanine - Austin
A|erno Businese Center!City Pari< Burieci Utilities investigations » San Antonio
American Freight Drainage Anatysts! Drainage Utl|ities - Scnertz. TX
824 Angei Ltght -.Lake Travie
Appiehead Cove Repeirs - Horseehoe'Bay. TX
Appiied Niateriais ~ Austin
Architecturai Meta|s (Threenoide) Copyright Diepute - Housth
14731 Arrowhead - La ke Travis, TX
Austin/Bergstrom Airport Pedestrian Bridges ~ Austin
32 Autumn Oaks Dr. Roof FramingNVater DamageiRep'air ~ Hii|s of Lai<eway
' AVA| Boat Dock - Aust|n
Baby Acapuico Reetaurent Addn. ~ Austin
Baioones Ciub Apartments investigation - Austin
Bank United - Austin
Beaumont Federa| Correcttonai Comp|ex - Beaumont, Tx
#11 Beecher St. Structurai Repairs - Austin
Beii Towet'a DrainagefPari<ing ~ Austin
2315 W. Ben Wnite Medioal Faciiity Evaiuetion » Austin
4311 Eiennec|iot F|ood DemagefDratnage investigation - Austin
Beet Western Hotei Stucco !Water intrusion - Austin
12432 Beveriy \)'iiiage Ct. #6 Wind Breoing t Framing Repairs - Austin
Bingie Road Shopping Center investigation - Housth
' 5325 Tean Btuebei| Window Leakage!Site Drainage - Spioewood, TX
Boeing Building 3238L - Austin
Bois-Du-Lac Condomin|ums - Dailas
505 Bo|ivar Framing f Connectors t Fiood Plane - E!ei|airel TX
780-4 Brtghtman Lane Structurei!TrueetWeter Penetretton - Austln
4805 Brook Creei< Cove Founciation investigation - Auetin
Brooketone Apartments Tnird Fioor Weikway Remova| - Austin
Bridge Partial Co|iapee inv. - Hwy 518, Shreveport, LA
603 Bu|l Creeit Stabilization - Auetin _
1441 Bu|| Horn Loop Foundation/Drainage - Round Rock
Bui|ock, Sandre, 2801 River Hi||a Road N|uiti-Damege investigation - Austin
4600 Bunny Run Structure - Austin
7304 Burnet Rd Fire Damage investigation - Austin
Butterfie|d l & ii investigation - San Angeio
1109 C&D 15 1/2 St. Structurai t Foundation / Drainage ~ Houston
Camino Reei Apartments Canopy/StructurelHazards - Austin

4

 

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4300 Canoas Roof Fram|ng - Austin

2400 Canoas Drive Structure - Austin

240 Canterbury Truss/Beam Deticiencies - Dripping Springs, TX

221 Canyon Traii Swimming Pooi Anaiysis - Austin

CAP Water Treatment Plant - Tucson, AZ

Capitai Metro Bus Parking/Retaining Walls/Fiood Study - Austin

Capitai Nietro Maintenanoe Building Drainagei'Struoturei Addition _~ Austin
Cardinei i-iiiis Unit 7 Wastewater Study - Trevis County

Casa Grancie Hwy. F|oocl Reiief & Bridge Rail ' Phoenix, AZ

3408 Cascadara Drainage/Structurai - Austin

Catheiena‘s Restaur`ant Structurai/Septic - Cedar Park

220 Cedar Hurst Lane Chair Lift Ana|ysis - Lake Travis

11094 Cedar Pari< Drainage/Structurai - San Antonio

Cedar Park Community/Recreationai Center Steirs and Raiis - Cedar Park
2725 Cedar Springs Framing/Foundation/Dreinageiii.ioisture investigation - Round Rooi<
2714 Cedar Springs Framing/Foundation/DreinageiMoisture investigation - Round Rock
Cent`eroourt Drainage - Austin

Centex Retaining Waii Co|iapse inv. Rivermist/Waiier Ranch ~ San Antonio
Chainsaw Niassacre Niovie Set Structurai Anaiysis - Austin

8400 Chaik Knoii Foundation/Pooi investigation - Austin

8904 Chaik Knoii Drive FirepiecelChimneyNVater intrusion inspection - Austin
25938 Chapman Faiis Foundation / Drainage |nv. - Richmond, TX `
Chese Apartments Roof/ Structurai / Nioisture Assessment - Austin
City-County Jaii - Okiahoma City, OK

City Nationei Bank - Austin

City,Pari< _Recreetion Building - San iViarcos

9403 Ciear_roci< Additions - Austin

Coie Baptist Church Roof Truss Faiiure/injury - Duncanvi|ie ,

Coiiege House CoOp Rehab - Austin

Coi|ege Park Shopping Center - Ki|ieen

Coiorado Building improvements - Austin

Commadore Riverboet Huli Repeirs ~ Austin

111 Congress Slgn - Austin

Congress Ave. Mini Storage Fire Dernege investigation - Austin
Continentai Construotion Casino Ds!ay Darneges Evatuation - Aiebama
Convenience Store Canopy - Fredricksburg

2208 Conwey Cove Freming Assess_ment - Pfiugerviiie

Copperas Cove Jr. High Conneotions - Copperas Cove

225 Corinthian Swimming PooilSeptic System investigation - Lekeway
Cornett Roof Truss Faiiure/|njury - Austin

Cotridor Park 5 - Cort Furniture - Austin

2150 Cottonwood Creek Foundation/Foo| Assessment - Austin

Couiver Rd. Septic Systems - Austin

617 Coventry Res|dentiai Design - Austin

Crane Nianbasi<et ~ Austin

2905 Creeks Edge Parkway Mesonry Repairs - Austin

-911 Cross W|nd investigation - Austin

Cross|and Eoonomy Studio - Austin

Cypress Semiconductor improvements - Austin

DART City Piace - Daiias

DART improvements - Dallas

Days inn - Diamond Bar, CA

Dean Witter Sign - Austin

9212 Deoi<er Lane Site Damage Assessment - Austin

Deeb Wood Truss Defect investigation - WV

Deiatte Mob||e Home iV|oisture lntrusion/Struotura|Nentiiation/Piumb|ng - Louisiana

 

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Denver Paviiions Shopping Center ~ Denver, CO
Department of Eoonornic Security West ~ Phoenix, AZ
Dittmar Lumber Warehouse - San Antonio
Doss Road Wastewater System - Travis Cou'nty
12506 Dover Drive, inontgomery. TX (Chapman)
Downtown_ Triparty Bridge - San Antonio ~
Duske Swimming Pooi - Austin
_ Dutchman's Market Freezer Building investigation - Fredericksburg
Duvai County Courthouse Weter intrusion/Superstructure/Civii - San Diegol TX
421 East e‘“ ADA issue - Austin ‘
805 East 32nd St. Medicai Oftices Foundation/P|umbing - Austin
#13 Ehr|icn PooilRetaining Weii Repairs - Austin
Educare Housing - Austin '
Eis`iey Librery Door Aooident - Lincoin, NE
E| Monterrev Apartmant Foundation investigation - Austin
Engineering ethics opinion letter (contidentiei)
Enoyoie Tean Plant Dismentie investigation - Corpus Christi
2408 Entieid Waterproofing end Drainage investigation -'Austin
Entertainment & Sports Arena - Ra|eign. N.C.
Escaia Apartments - Reteining Waii Faiiure / ['.>reinage - Austin
Esther's Foiiies Expansion ~ Austin
12210 Fairhaven Foundation / Drainage inv. - i\/iontgomeryl TX
FarWest Skyiine Condomium Rehab - Austin
101 Fawn i'vieedow Repairs - Austin
101 Fawn Hoi|ow Bracing, Windowe, Foundat|on issues - Dripping Springsl TX
FDNS Niedicai Building Thermai Barrier/ Wnyi Materiais investigation - New Braunfeis
FDNS Medicai Building Thermai Barrier / Vinyi Materiais investigation _ Segu|n
101 Firebird Poo|/Wa|i - Austin
121 Fireblrd St. - Roof repairs - Lai<eway. TX
Fiamingo Cantina Canopy & Mezzanine ~ Austin
Fleetwood Subc_iivision - Memorial Dr.Fiood f Water Berrier Drainage investigation -, Houston
F|ower |Viound High Schooi Lewisviiie iSD Water Disohargs - Fiower i\iiounoi, TX
Fo'rest Creek Aeriai Grossing - Pf|ugerviiie
Forest Creei< Retaining Waiii'Cuiverts d Pfiugerviiie
Forest Oaks Waetawater Wetweil - Cedar Pari<
Ft. Biiss Hangar Door investigation - Ei Paso
304 W. 4th St - Austin
807 E. 14th St. Condo Buiiding Water Penetrationi Structurai ~ Austin
Founciet|oniSuperstructure Anaiysis - Primary Schooi - Eagie Lake
Foundation Anaivsis 11620 Loweswater - Austin
509-521 Frani<iin investigation - Waoo
2800 French Piace Drainage/Structurai investigation - Austin `
Fresno Federai Courthouse Structurai Assessment - Fresno, CA
Fruit-O-Loom Siip/Faii investigation - Hariingen, TX
Fuikes iviiddie Scnooi Beem Conneotions - Round Rock
Gabies at Barton Creek Coiumn Repair- Austin
Gaiieria Oaks Shopping Center investigation - San Antonio
4205 Gattis Schoo| Road Pavement Assessment - Round Rock, TX
11901 Gateway Swimm|ng Pooi/Fiooding/Drainage - Austin
Generai Nlaii Facli|ty - Bryan
Generat Teiepnone & Eiactric - irving
Georgetown .iet Adciition - Georgetown, TX'
42 Govern_ors Court Structurai/Fire inspection - Austin
Grace Luti'ieran Church - Wimberiy
. Grand Casino - Tunica, iViS.
Grand Casino Hotei Structures - Biioxi, iViS

 

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9714 Grand Oai<s Low Speed Car Crash - Structurai Damage - Austin
Granite Quarry Plant Warehouse - Austin
Grapevine Maritet - Austin
Greathouse Eiementary Piat'forms - Midiand
Greetiand Oftice Park improvements - San Antonio
Hackberry Convenience Store Canopy - San Antonio
i-iebitat Viiiage investigation - Austin
Harbor Circ|e Swimming Pooi investigation - Georgetown
Harti'ian House Apartrnents (Historic} - Stabi|ization and Restructure - Austin
Hartman Post House - Lake Travis
Hatch/Carr/Ashcreek Structurai investigation - Austin
i-ieadquerters Bidg - Kirtiand AFB
20707 Henr;ir FioorrRoof Deci<ing investigation ~ Lago Vista. Tx
High Drive _Foundation Dispute Resoiution ~ Lego Vista
Highcrest Apartments Drainage i' Trusses ~ San Marcos, TX
Highway 290 W 33ft Bi|iboarci - Austin
i~iit| Country Apartment FireiFirepiace Darnage investigation - San Marcos, TX
Hi|| Countrv Apartment Foundation investigation - San Marcos, TX
Hiiton Hotei Wood Truss Defect Assessrnent - Okiahorne City, OK
Hoffbrau Restaurant Addition - Austin `
, i-ioiidev inn Seiect Loop 410 Reteining WaiisiPorte~Coonere - San Antonio
Hoiiday inn Seiect Canopy Weii - San Antonio‘ TX
Ho|ioman AFB F117A ivia|ntenanoe Doci<si'i-iangars - Aiamogorda. Nivi
6212 Hoiiowav Rsaidentiai Foundation!$uperstruoture Damage Repair - Austin
Holivwooct V|deo inspectionl 1050 135 - Georgetown
HonzoniWamer Bros. Sounci Stage 3 & 5 Structurai - Austin. TX
Horseshoe Casino Pari<ing Garage Stairs - Bosier City, LA
Horseshoe Casino Stair Tower - Bosier City, LA
Hunter Construction Co. Steei Buiiding Fire investigation - New Braunsfeis
Hurricane Katrina/Rita Damage Evaiuations - i\/iSl LAl TX
12343 Hymeaciow investigation - Austin
5508 va 290 Seismic Evaiuation - Austin
ingiesicie Fieet Niine Center - ingieside
|ngiesicie Viliage Apartrnents - ingleside
international Center for Trade Truss Conneotions - Eagie Pass, TX
J.C. Penny Wail Coiiapse - Daiias
Jester Estates Oceanquest Pooi investigation - Austin
Joe‘s Crab Snaci< Reataurant Code Vioiations / Hazard Anaiysis - Houston
Jonestown Ligi'ithouse - Lake Trevis
126 Kittie Lane Foundation i Drainage - Three Rivers, TX
1_9 Knob H|ii Ciro|e interim Deck Repair - Austin
Knox OSSF Feasibi|ity Stuciy - Austin
Kn uckieheads - A`ustin
Lake Creek Viiiage Shopping Center - Austin
5475 Lekeshore Drive Roof Assessment- Lago Vista
24714 Lakeside Cove Structurai inspection - Austin
Lei<eway Church Feiiowship i-iaii - Lakewey
6609 N. Lamar Fire investigation - Austin
10817 N. Lamar- Roof Structure Repair » Austin
1607 S. Lamar - Austin
Lamar Craton Truss Col|apse/ injury - Aiabama
Lanahire Dupiex Stair Coiiepse investigation - Austin
Laite Austin Rivei'boat Dooking Faoiiity -- Austin
Lake Travis Lighthouse - Jonestown, 'i'X
Lake Trav_is Post Ottice ~ Lakewey
4807 Lake Wiohite Foundation i Drainage inv. - Richmond, TX

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1010 N. Lamar Roof/Wail Restructure - Austin

1420 N. LBJ Dr. VlbrationiEnergy investigation - San Niaroos

10807 Legencis Lane Plumbing Leak Damage - Austin

Lewisvilie iSD Schooi Construction Detictency Eveiuation - Lewisvi||e
Lignt Bar Addition - Austin

1487 Littie Bear Foundation Evaiuation - Hays County, TX

LoLa Convaiescent Ctr. Roof Coiiapse investigation ~ Austin
Lookheed Malntenance Faci|ity - Austin

Lockheed Missile Mezzanine - Austin

Log Cabin Structurai/Foundation -- New Niexico

13915 Lone Rider Traii Trusses - Austin

2401 Longview Phi Kappa Psi Temporary Structure - Austin
Louisiana State Highway Timbe`r Bridge Coiiapse ~ LA

11620 Lovvesvvater DrainageiStructurai - Austin
Luis Faii t injury i Root Freming i Fasteners issue - Houston

606 W. Lynn Condos investigation - Austin

McCraoken Pool Trusses - Austin

i\)ioCrearv County USP ~ Kentuoi<y

202 E. Main Restaurent Fire Damage Repalr - Round Rooi<

Ma|min Structurai Damage Assessment FioodingiDrainagarUtiiities - Austin
Manda|ainircus Cirous ADA Shower SeaUlnjurv investigation - MS
Merb|e Faiis C.`iuarr;ir Oiiice Building - Merbte Fai|s, TX

711 Niarsnaii St. Foundetton i Frame investigation - Houston

819 Mariner Structurai/Foundation investigation - Round Rock

703 Mame Ln. nghtnlng Damage Assessment - Houston

Masonry Coiumn Coi|apse investigation - Housth

2618 Mathews Baioonies / Boat Dooi< l Helicopter Pad inv. - Austin
Maxweii Car W'ash - Tayior -

N|axwe|l Wastewater - Austin

Meadowbrook Gardens Apartments Designsllnspections - Cedar Park
Maadowiai<es Shopping Center - Marble Faiis

i\/iedical Center Automatio Door C|oser Accident - Bentonviiie, AR
Memorial Baptist Church Trusses - Kiiieen

_ Nienard BiFoid Door Acc|cient investigation - Janesv|liel Wi

Mezzaiuna North - Austin

Niicron Devices Seismic - Utah

310 Mitcheil Foundation / Plumbing - Weatherford, TX

it-iississlppi interstate Bridge Coliapse - NiS

2004 Mistywood Reaidentiai Repairs - Austin

iviorrow Roof Member Co|iapseiFa|l - Birrningharn. AL

205 W. Morse ivioistureilvioidi$torrn Windows - Frei:ierici<sberg1 TX
352 iviostyn Ln. Foundation f Framing Evaiuation » San Marcos
Motei 6 BalconyiStairs Restructure - Amariilo

Motei 6 Beieonv!Staira Restructure - 8010 N. |35 - Austin

Motei 6 Hurrioene lite Damage Evaiuatlon i Reconstruction -» Jereey Vliiage, TX
Motei 8 i-iurricane Katrina Damage Assessment - Biioxi, iviS

Motei 6 N.|H35 Additions - Austin

Motei 6 Walltways!$tairs - Topei<a, KS

Motei 6 Structuraii'Clvii Evaluetion - Camp Springs, MD

Motei 6 Structurai/Civii Evaiuation - Cranberryl PA

Motei 6 Structurai/Civii Evaiuation - Moiine, lL

MS| Shop Expension - Kyle

Mt. Olive Lutheran Church Addn. - Austin

Motoro|a Building "W" - Austin

Moss C.J.C. - Oitiehoma Cityl OK '
Niueeum of the So uthvvest Accident / ADA evaluation - Corpus Christi, TX

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N.A».S. Commissary - Kingsviiie
Neiiis AFB Composite Facility - Las Vegas, NV
Nevv Elitch Gardens Theme Park - Denver, Co.
413 New Ledo Swimming Pooi investigation - Austin
New Lexington i'-`eyette County Deiention Center ~ Lexington. KY
New Terr|tories Shopping Center investigation - San Antonio
1211 Newton l Austin Motei Retaining Wall Coilepse Repair Anaiysis - Austin
19 Nob Hill Circie Structurai Expansion Study - Austin
North High Schooi - Carrolton
North Hiiis Tcwnhouse Foundation investigation - Austin
North Lamar/Kramer Lane Warehouses - Austin
North Park Hotei Fire/Firepiace/T russ Repairs - Austin
1210 Nueces - Veneer l Deci< / Stair Repairs - Austin
260 Oak Helghts Barrier Drain - Wimberiy
Oai< Knoii Residentiai Foundations - San Marcos
Oakwood Sohooi Trusses - Coilege Station
10807 Oasis Foundation Faiiure inv./Negotiation - Houston
4802 Ocean Drive StructuraiNent|lation`Assessment - Corpus Christ|, TX
Oiltieid Road Hwy. intersection Accident/ Drainage l Non-Licensed Engineer - LA
Oici Loci<hart Hwy. linobii Home Park - Travis County
Olivarez SubdivisioniUiiiities!Strest Coiiapse investigation - iVicAiien
Oitorf Oaks Apartments Chimney Fire investigation - Austin
O.ne Corporete Center investigation - Austin
One Liberty Piace improvements - Waco
One Teoh Piaza - Austin
Oyster Lanciing Boet Docks - Austin
Paiei'ace Grooery - Travis County -
Pa|m Vallev Retain Stucco / Substrate - Round Rook
Paniagua Truss Coliapse/ln]ury - Phoenix, AZ
12892 Park Ari Studio - Austin
Park Centrsi Apartments Stair Faii |nv. - Deiias
6103 Peachtree Hill Ct Drainage i‘ Foundation Damage - Kingwood
2212 Peari Fire Damage inspection - Austin
540 Pecen Grove Eioat Dook improvements - Horseshoe Bey
Penbrook Apartments Niasonrv Veneer Repairs - Austin
Penbrook Ciub Apartments Building 6 Breezeway inspections - Austin
J. C. Pennv Bn'ci< Veneer Wall Coliapse - Daiies
Pete iviaravich Assembly Center investigation - Baton Rouge, LA
Po int Venture Townhouse Niultl Building Structurai Assessment - Point Venture, TX
Preclsion Natlona| Structurai investigation ~ Waco
Publlc Housing Faii i-tazard investigation - San Antion|o .
29384 Raintree - Plumblng / Foundation l Superstruoture investigation - Fair Oaks Ranch
Rach Fire Retardant investigation - San Antonio
RCES Hospital HVAC / Contract issues - Austin
1913 Real Catorce Ft:iuni:iationiZ"d Fioor Framlng Repairs ~ Austin
Recreation Sports BuildingiA&MN\iindow Wall - Coiiege Station
Red Robin Restaurant Air Quai|tyiivioisture.-'Roofr‘wa|l Lealts - San Antonio
` Rogency Manor Apartments Structurai Wa|kwav Repiacemenis ~ San Antonlo
Regents Schooi Water intrusioniWood Floor Damage investigation - Austin
6910 Researcti Perking Lot investigation - Austin
12034 Researoh High Speed Vehicie Co|lision Vibration/Energy Damage Assessm'ent - Austin
Retano Wastewater System - Austin
2516 Revere Tovvnhousss Foundation l Superstructure inv. - Houston
1913 Rio Catorce TJ| Fioor Joist investigation - Austin
River Authority Convevor ~ San Antonio
3800 Rivsrcresi Bost Doci< Feasibility Study - Austin

 

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2311 Rogge Ln Swimming Pooi Leak/Foundation Assessment- Austin
Rone Celiphone 160 Ft. Guved Tower - Barton Creei<, Austin
Round Roci< Exprees Basebaii StandsiRaiis - Round Rock
Round Rock Express Cables/Structura| Designs - Round Rock
Round Rock Express Supports - Round Rock
10713 RR 620 Rooi Assessment - Austin
12301 Saber Traii Wind Load Stabiiization - Austin
Sam Bass Road Concrete Pavement Aneiysis - Round Rock, TX
Ssmsung U. Project i Beam Connections - Austin -
San Antonio Housing A_uthorlty v. iviagi Realty - Litigationl 150 + Houses - San Antonio
2200 Scenic Boat Dock Repairs - Austin
16020 Scenio Oai<s Traii Fiood Aneiysis - Buda, TX
Schneider Manufactured Home investigation - La Grange. TX
- Seoretariat Masonry Archelerainage - Hayes Co.l TX
Segefieid Drainage Study - Austin
6106 Shado\.v iviountain Structurai Repairs - Austin, TX
Sharper image iviezzanine - Austin
Sheraton Hotei Pari<ing Garage Repairs - Austin
Siiver Pine Pooi - Austin
Simplex Grin neil Structurai Evaiuatlon - Pfiugervliie, TX
Sir lvor Cove Swimming Poo| Eva|uation - Austin, TX
419 E. Sixth St. Second Fioor Rehab - A_ustin
421 E. Sixth St. ADA investigation - Austin
500 E. Sixth Rehab - Austin
500 E. 6"' Fire Esoape Restruoture - Austin
505 E. 6th Structurai investigation - Austin
-515 E. Sixth Roof Framing - Austin
600 E. sixth near & 2"d Fioor naming Evaiuaiion - Austin
723-726 E. Sixth Rehab - 'Austin
10211 Si<yiiower Fioor Stebiiizntion - Austin
Skylight Acc|dentai Breei<ageii=aii l iniury - iviission, TX
Si<vridge Plaza Structurai inspection - Round Roci<` TX
South Grand Prairie High Scnool - Grand Prairie
329 South Guadaiupe Water intrusion - San Marcos
Southiake Shopping Center Stairs - Southiake, TX
Soutn|ake'Subdivision Sanitery Sewar Coiisp`se - Southiake, TX
_ 120 South Main Roof Drainage issue ~ Victoria
South Texas Art Museum - Structurai Barriers / ADA / injury - Corpus Christi
Southwest Medlcal Park - Austin
Southwest Tean State University Bridge - San Marcos
Southwestern University Fine Arts investigation - Georget_own
SpeedFabCrete Tiit Wall investigation ' San Antonlo
702 SpringBrook WateriFioor Truss Damage - Leandar
St. Paul's Caii'loiic Church Addition - Austin
St. Pete Times Forum Arena Concrete Toierances Evaiuation - Tampa Bay, FL
#18 St. Stephens Poo| investigation - Austin
Stair and Guardraii Designs - Sheppard AFB
St. Stepnens Schooi. Quinn Hail Addition - Austin
Stah| Roof Condition Assessment - Austin
Stavton Water Damage » Hardvvood Fiooring !Piumbing / HVAC Spec. l\/iedlation - Victoris
Steok Veughn Fioor Structure investigation - Austin
110 Stephens Lane Window Leai<age investigation - Round Rock
Stop and Go Boat Storage inspection ~ Austin
Stud|o 6 Motei Sam Houston Peri<wey Foundation/F|ooding/Plumblng - Houston
Stum Ladder Faii investigation - Ar|ington
5363 Sugar Hill Foundation / Swimming Pooil Drainage investigation - Houston

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Summit Apartments Wood Balcony investigation - San iViarcos, TX
Summit at West Rim Foundation - Austin

Sun Oii E!W Pipe Raci< - Houston

- Sunchase Condos investigation - Austin

Sunchase Unit 102 -Austin

Sunf|sh Wastewater System improvements - Austin

Sunnyvaie Condominiums Repiacement Stairs - Austin
Superstructure Aneiysis Riverview Apartments - New Orleans, LA
Superstructure Aneiysis Shadowiai<e Apartments - .ietierson Parish
TAMU Recreation Sports Building - Coiiege Station

Texas Department of Banking Structurai investigations - Austin
Texas Department of Corrections - Abiiene

Texas Department of Corrections Aiberti Unit - Abliene

Texas Department of Corrections - Beaumont

Texas Department of Corrections - Beeville

Texas Department of Corrections - Ei Paso

Texas Department of Corrections - Gatesvii|e

Texas Department of Corrections - Harris Co.

Texas Department of Corrections - Hutchins

Texas Department of Corrections - Liberty Co.

Texas Department of Corrections - Mitcheli Co.

Texas Department of Corrections - New Boston

Texas Department of Corrections - Piainview

Texas Department of Corrections ~ W|chita Faiis

Texas Department of Corrections - Karnes County

Texas Department of Corrections Tower - Amerillo

Texas Department of Heaith Laboratory StairsiGuardraiis - Austin
Texas Lanci & Cattie Co. Restaurant Fire investigation - Richardson. TX
Texas Supreme Court Buiidings B & C - Austin

Thaxton Road Septic Systems - Travis County

315 W. -35"‘ Apartment FoundationiPlumbingiSuperstructure - Austin
2909 Thousand Oal<s Truss Evaiuation - Austin

27 Tiburon Dr. Groundwater/Drainage/Foundation - Hliis of Lakeway
408 Ti|bury Construction Deficiencies - Austin

9816 'i'tmber Ridge Pass Septic investigation - Austin

T|rnbers Apartments Structurai f iJrainageir Piumbing Evaiuation - San iViarcos, TX
Toit Water Treatment Plant Design Deficlency Evaluation - Seattle
5812 Tom Wooten Drive Fioor Trusses/Water intrusion/ Bracing - Austin
Tower Carwash Pavement i Building Water Leai<age Eveluai|on - Round Rock
Tovvn Lake Vii|as DrainageiWater lntrusioniStructurai - Austin
TOWTRC Councii Training Center EvaluetioniReport - Texas
Twenty-First Street CoOp/ Commons investigation - Austin
Twenty-First Street CoOp Structurai Lotts - Austin

U.S. Naval Station - ingleside

Unity Church Structurai investigation - Austin

University of Houston Atnietic Facility » Houston

University of Texas i.iteiHsaith Steei Connections - Brownsvi|ie
University of Texas Memorial Stadium Additions - Austin

University of Texas Residence Dorrn Stairs - Austin

university ot Texas Soccer Stadium -Austln

' University of Texas ToweriO bservetion Deck investigation - Austin
University ot Texas West Grandstand - Austin

USP Atwater Code issues ~ Austin

230 Vailco Lane - Wall Plumbness l Structurai Framing ~ Austin

230 Vaiico - Wall Bracing)'Piumbness issues - i.`akeway

Va|iay View Apartments Water Break / Structurai l Condemnation - Georgetown

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1802 Vance Circie Drainage / Foundation Deiiciencies - Austin
Victoria Square Rooiing Repair Scope - Austin
Viiiage at Gracy Ferms Roof Assessment - Austin
12600 Waliisviiie inspection - Houston
3909 Warehouse Row StructuraiiRemediation - Austin
1603 Warwici< Cove ivioisturei|-|VAC!Structurei investigation - Round Rock, TX
Wateri Westewater No. 19 Waikwavs and Guerds - Travis Co. '
Waterfront Condo Boat Docks - Austin
Waterloo ice House Additions - Au stin
Weberg Furniture Store Roof Coiiapse investigation - Tem pie
Walls Fargo Bank ATiviiParKing Lot injury - Pasatiena1 TX
Wendv‘s Restaurant Ladder investigation - San Antonio
1701 West Avenue Structurai investigation ~ Austin
Westchester Apartments investigation - San Antonio
Western Currencv Tower - Ft. Worth
Westmoreian_ci Bridge Co|iapse investigation - Daiias
~ Wlider Seif Storage - Alabama
2606 Wiison St. Apartments - Stair Repairs / Upgrades - Austin
Wiiiiamson County Annex - Taj,rior1 TX
Wliiow Creei< Apartments Roof investigation ~ Houston
Wimberiy Wastewater Hoiding Tank - iiiilrrii)erlif
2730 Winding Brooit Structura|rCivii - Austin
6402 Woodhue Foundationr$tructurai investigation - Austin
Zone Apartments Swimming Pooii Building Foundatio ns - San iiilarcos. TX.

FOR OTHER F|RMS:

_ American Founders Office Building - Austin
American Oil Company No. 1 Uitrecraci<er - Texas City
Austex Food Processing Faollity - Austin
Austin High Schooi improvements - Austin
Austin‘s Co|ony Wastewater Treatment Plant - Travis County
B&R instrument Building » Houston
Bain Road iviobiie Home Park - Travis County
Banister Lane Fiood Controi - Austin
Bastrop County Bricige - Bestrop
Baxter Residenoe » Midiand
Bevou Banci Townhouses - Midiand
Beai Lakehouse Faciiitles - Brownwood
Bergstrom AFB improvements - Austin
Bergstrom AFE| Squadron Operations - Austin
Big'Spring High Scnooi Remocieiing - Big Spring
Biuebeii Estates iviobiie Home Park - Travis County
Biuebeii Ridge Mobils Home Park - Travis County
Biuebonnet iviobiie Home Park - Travis County
Bracksnrldgs Hospitei Expansion - Austin
Braker Lane Eiementary Schooi - Austin
Brovvn Distributi ng Companv improvements - Austin
Brown Residence - Niidiand
Brown Scitooi improvements - Austin
Eirown ing Hangar improvements - Austin
Brushy Creeit Bridge - Rou nd Rooic
5046 Buii Cree|< Otiics Building - Austin
Burieson Residence - Midiand
Bus Transit Faoility - Austin

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Butcher iilifg. Foam Panei Testing - Lafayette. LA
Campbeii Center - Daiias '
Cap|tai of Texas Plaza Storm Structures - Austin
Casbesr iviiniwerehouse Park - Midiand
Cat Mountaln Subdivieion - Austin
Cedric's - Midiand .
Ce|anese Chemicai Company Signage - Houston
Ch'andler Building - Austin
Chariie's Liquor Store and Warehouse - Austin
Chariton Ranch Facii|ties - Brewster County
Charter Hospital - Austin
Chevy Chase Center Federal Express - Austin
Church of God of Prophecy - Midiand
Church of The Holy Redeemer - Austin
Church of The Rock - Odessa
Ciark Residence ~ lVienard
Ciearview Office Building - Midiand
Ciifton Lutheran Sunset Home - Clifton
Cody Cattle Company Restaurant ~ Midiand
Cottev Residence - Austin
Coibert Residence Wastewater - Austin
Coiiins Residence - Midiand
804 Congress Ofiioe Building - Austin
Coors Distributor Faciiities ~ Midiand
Cornerstone Apartments - Austin
Couriyard Apartments - Midiand
CreditBanc Building Far West Blvd. - Austin
Creedmore Meadows Drainage - Austin
Crescent Piace - Midiand

. C.ross-`i'own Sevver interceptor - Austin
Cuiver Road Estates iviobiie Home Park - Travis County
Dairy Quseni N. Lamar - Austin
Davenport Residence - Midiand
Davis Water Treatment F'iant, Phase iii - Austin
Despwater Doci<lng Facii|ties - Kuwalt
Devine Junlor High Sci'iool - Devine
Dobie Junior High Schooi - Austin
Doie Residence - Midiand
Downtown Fire Station - Livingston
Driitvrood Surveving t ATS Pecan Springs Subdivision Review - Austin
Duncanvilie Apartments - Duncanvii|e
East Side Park improvements - Austin
East Texas Puip & Paper improvements - Houston
Eighth Street Arms Apartments - Austin
El Chlco Restaurant - Midiand
Eiroy Road iviobiie Home Park ~ Travis County
Emerson Piace Niesonrv investigation - Midiand
Enfield Piazs Foundation improvements - Austin
Fann Canti|ever Crane #1 - Austin
Far West Blvd. Swimming Pooi - Austin
Fields Residence - Odessa
First Presbyierian Church - Coieman
Fisher Scientitic Laboratories - Atianta, GA
Ft._ Sam Houston Base Faciiities - San Antonio
Ft. Sem Houston Commissarv Expansion - San Antonio
Forum Shopping Center improvements - Austin

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Garden City Hwy. @ FN|715 Warehouse - Midiand
Gary Job Corps Center - San iviarcos
Gattis School Road Conv. Store improvements - Round Rock
Gelgy Chemicai Corporation » Louisiana .
Gethsemane Lutheran Church improvements - Austin
Gienwici< Apartment Conversion ~ University Park
GNi Steai<houseiCongrees Ave. --Austin
Gofotth Viilage Wastewatsr Plant - Austin
Gooch Residence - Midiand
Grandview Warehouse - Odessa
Greenvi|ie Ave. Condos/Apartments - Ricnardson
Gritiith Residence - Midiand
Grosev Medioai Building - Midiand
2000 Guadalu'pe Otiice Building - Austin
2200 Guedaivps Ofi“lce Buliding - Austin
Guii States Utllities Pump Ststion - Montgomery County
Hem phiil Park Apartments - Austin
Henderson Residence - Midiand
Hencierson Vessei Foundations - Midiand
' Henderson Warehouse - Midiand
Hickory Farms - Midiand
Hiiiander Schooi Expansion - Midiand
Hiiton Hotei improvements - Midiand
Hinesiy Restaurant - Merke|
Hissom Residence - Midiand
Holiday Hill L.andtiii - Midiand
Housing. Water and Wastewater improvements - Kuvvait
Huggins Pumping Unit Service Warehouse - Midiand
Hunter Residence - Midiand
idiewiide Viilage - Midiand
lnverness Con_dominiums - Bastrop
Jefierson Building - Austin
Jolivvl|ie Rt:i. Ofiioe Buiidlng - Austin
Jonsson Additions - Midiand
Ksiiy AFB Faciiities - San Antonio
Kennedv Residence - Midiand
La Amistad Restaurant ~ Niidiand
La Prada Subdivision - Gariand _
Lackiand AFB Exchange Saies - San Antonio
Lackiand AFB Faciiities - San Anton_io
Lackiand AFB Police Operetions - San Antonio
Lackiand AFB Shop C|othing tit Equipmant - San Antonio
Laughiin AFB Air Resoue Opns. Bidg - Dei Fiio
La.ughlin AFB Shop Aircrai"t Bidg - Dei Rio
Leander Hiils Water and Wastewater - Austin
Leander Post Office - Austin
Lewis Stgn Co. Signage - Austin
Lewisviiie Apartments - Lewisviiie
i_os Patios Restaurant - Niidiand
ivicAng us Road iviobiie Home Park l & ii - Travis County
206 Main Building - Midiand
ivianchaoa iviobile Home Park ~ i'v'ianchace
iviatnevvs Eiementarv Schooi - Austin
i'vietro Building improvements - Midiand
Mewhorter Residence - Midiand t
Niidiand High Sohool improvements ~ Midiand

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Midiand Savlngs Association - Midiand
Missouri Street Restaurant - Midiand
Nionopod Structure - Cook inlet, AK
Mustang ivieadovvs Wastewater - Austin
Nakoosa E_dwards Paper Plant - Arkansas
Nash Building - Austin
Nieta's Cafe Addition - Midiand
North Austin Junior Swimming Pooi - Austin
_ North Blvd. Addn. Office Building - Midiand
Northchase il Office Building improvements - San Antonio
O'Donnell Residence - Midiand
Ogden Office Building,s - Austin
Oid Southem ice House - Midiand
Oitorf Rd. OfficeNVarehouse Park - Austin
O'Neiii Barbeque - Midiand
Pappagalio Expansion - Midiand
Pari<wood Apartments - Richardson
Permian Eiectronics Radio Tower - Midiand
Petro-Tex Neoprene Plant - Houston
Petro|eum iviuseum Centrai Power - Midiand
Piiugervii|e High School - Pflugerviile
Piney Creek Bridge - Bastrop
Piantation Hiiis - Midiand
Piaza Center No. 15 - Midiand
Pieza Office Building "i(“ - Midiand
Piaza Shopping Center Buildings F1 & F3 - Midiand
Piaza Shopping Center Signage - Midiand
Poiiard Residence .- Midiand
Princeton Business Center - Midiand
Publlc Safety Building improvements - Midiand
Radio Shack - Midiand
Ramsey Medical Center - Austin
' Ramsland Residence - Midiand
Re`nner Road Subdivision - Da|ias
Richarcison Apartments » Ricnerdson
Ridgernar Court investment#i & #3 Condos - Midiand
Rodriquez Restaurent - Midiand
Roper Warehouse - Midiand
Rowiett Fiood Piane Study - Rowiett
Rusk Dentai Office - Midiand
St. June Subdivision - iVicKinney
St. iiiiertin's Lutheran Church ~ Austin
St. Nichoias Episcopai Church improvements - Midiand
St. F'aul Evangelical Lutheran Church - Tayior
Sam Houston State Office Building ~ Austin
San Feiipe Neighborhooci Faciiity - Dei Rio
Sandre Street Warehouse improvements - Austin
Scottsda|e Addition - Midiand
Shenandoah Townhouses - Dailas
Sheppard Memorial Hospitai improvements - Burnet
8118 Shoai Creek Dentai Center - Austin
7958 Shoai Creek ivledicai Office Building - Austin
Shoai Creek Office Building - Austin
Showoase l - Midiand
Shui| Warehouses ~ Midiand
- Six Ranch - Midiand County

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Skl|iern's Drug Store ~ Midiand
Sledge Residence - Midiand
Smith Residence - Midiand
Smitn Building - Midiand
Smlthviiie Landfi|i - Smlthviiie
South Austin Fire Station - Austin
1006 South Big Spring Addn. - Midiand
Spicewood Wastewater Treatment Plant - Austin
Stephenson Warehouse - Midiand
Sundae Paiaoe - Austin
Sunshine Camp - Austin
Superior Oil Building improvements - Midiand
Sutton Piaoe Condominiums ~ Midiand
Texaco Ofishore Driiiing Plattorms - Houston
Texas Department of Heaith and iviental Retardation - Austin
Texas Department of Human Resources » San Antonio.
Thaxton-Couiver iviobiie Home Park Wastevrater Liti|ities - Travis County
Thomason Townh`ouses - Midiand
Timberline Terrace Office Building - Austin
Town & Country Day Cere Faoi|ities - Austin
Travis County Biood Bank - Austin
Travis County Courthouse Annex - Austin
Travis County Courthouse improvements ~ Austin
Travis County Courthouse Pe_dsstrian Bridge - Austin
Travis County Parking Garage ~ Austin
Travis Street Low income Housing - Midiand
Treanor Equipment Co, improvements ~ Midiand
Tres Amigos Resteurant - Austin
Trinlty Lutheran Home - Austin
Trinity Presbvterian Church Additions ~ Midiand
Trinity Schoo| improvements - Midiand
Tumer Building improvements - Midiand
Tweniy-fourth Street Condos - Austin
Union Hail Baptist Church Adcin - Liberty Hiii, TX
Union Texas Oil Co. Extraction Piant - Geismar. LA
United States Embassy - Guyana
University Lutheran Center - Austin
University of Texas Regents' Office Building - Austin
University of Texas Harrv Rensorn Center - Austin
University of Texas of the Permian Basin - Odessa
University of Texas Swimming Faciiity - Austin
Vsughn Building improvements - Niidiand
2714 W. Wall Warehouse » Midiand
WashingtoniivicGarvey St. Warehouses - Midiand
Water Line Utiiity improvements - Martindaie

' Water Tower- Niartindaie
Water Tower Renovation - Midiand
Weatherford Landfiil » Buda
Western Sizzier Steai<house - Midiand
Westgate Business Center ~ Midiand
Westgate Acres Section 2 SubciivisioniUtiiitiesiDeveiopment- Midiand
Westgats Niinl\.varehouse Deveiopment - Midiand
Westiai<e High Schooi improvements - Austin
Westminister Manor Additions - Austin
3000 Westminister Residence - Dallas
Westminster Prespyterian Church improvements - Austin

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Wi|d River Canyon Park - Niidiand

Wi|son Buiiding - Midiand .

Windmi|i Hiil Apartments - San Antonio

Winston Swimming Poo| Faciiity - Midiand

Woodiands Street, Bridge & Drainage Faciiities - Woodiands
Yancey Residence - Midiand

Y.W.C.A. improvements ~ R|chards`on

Young Veh`\cie Storege Factiity - Midiand

Zoi|er Residence - Midiand

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AM_STAI~_\ ENG_INE-ERING, INC. .~
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